                               Case 17-24030        Doc 18     Filed 11/07/17      Page 1 of 1

                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Greenbelt
                                      In re:   Case No.: 17−24030 − WIL         Chapter: 7

Natieya Davis
Debtor


                                               DEFICIENCY NOTICE
DOCUMENT:                  17 − Amended Voluntary Petition Provide County of Residency Filed by Natieya Davis .
                           (Hegerle, Robert)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 11/21/17.

CURE:                      A Certificate of Service on the above pleading must be filed. (Local Bankruptcy Rule 7005−2).
                           Include the names and addresses of all parties served or attach a copy of the mailing matrix.


CONSEQUENCE: Failure to cure the problem(s) by the date above may result in the pleading being stricken or
             other action the Court deems appropriate without further notice. For a proposed order, the failure
             to cure the problem(s) may result in the relief sought being denied for want of prosecution.

Sample Certificate of Service: http://www.mdb.uscourts.gov/sites/default/files/FORMS−COS.pdf.
Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 11/7/17
                                                                Mark A. Neal, Clerk of Court
                                                                by Deputy Clerk, Robert Hegerle
                                                                301−344−3399
cc:    Debtor
       Attorney for Debtor − PRO SE

defntc (rev. 12/12/2016)
